                Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 1 of 19 Page ID #:258
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.




                                                  Exhibit H




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                       1
                Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 2 of 19 Page ID #:259
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.




                             U.S. Patent No. 8,595,778

                                              Sandpiper CDN




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                       2
                Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 3 of 19 Page ID #:260
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,595,778                                                           Google CDN
 1. A computer-            Google uses and provides content delivery network(s) (“Google CDN”), including Google’s internal
 implemented method        services and services Google offers to third parties that are used to provide content, such as webpages
 for authorizing           and/or video streams, over a network. Google CDN includes services such as YouTube TV, for example,
 delivery of a video       along with Google’s own use of technologies to provide content in a network.
 stream to an end user,
 wherein the video         As one example, YouTube TV provides a method for authorizing delivery of a video stream to an end user,
 stream is associated      wherein the video stream is associated with a content publisher. For instance, YouTube TV authorizes
 with a content            delivery of a video stream as part of an NFL Sunday Ticket YouTube TV subscription.
 publisher, the method
 comprising:




                           https://tv.youtube.com/welcome/

 receiving a request       Google receives a request from an end user, for example an NFL Sunday Ticket YouTube TV subscriber,
 from the end user for     for delivery of a video stream across a network. YouTube TV allows an end user to submit a request for
 delivery of the video     delivery of a video stream, for example by selecting an icon to select an NFL game.
 stream to the end user
 across a network;

PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                       3
                Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 4 of 19 Page ID #:261
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,595,778                                                             Google CDN




                           https://support.google.com/youtube/answer/13821595?hl=en

 querying a                Google queries a subscription database, for example to determine if an end user has an active NFL Sunday
 subscription database     Ticket YouTube TV subscription account.
 associated with the
 content publisher;




                           https://developers.google.com/youtube/v3/docs/subscriptions

PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                       4
                Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 5 of 19 Page ID #:262
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,595,778                                                        Google CDN
                           Google stores YouTube TV subscriber data in a Google database.




                           https://cloud.google.com/solutions/databases?hl=en


 in response,              Google processes a reply from a subscription database. In one example, the Google CDN determines if an
 processing a reply        end user’s YouTube TV account is active or paused.
 from the subscription
 database to determine
 whether the end user
 has authorization to
 receive delivery of
 the video stream; and


                           https://support.google.com/youtubetv/answer/7129668?hl=en&co=GENIE.Platform%3DDesktop

 performing at least       Google transmits a notification to an end user indicating the end user is not authorized. For example,
 one of:                   YouTube TV notifies an end user access to YouTube TV is not authorized to receive delivery of a video
 transmitting a            stream based on a reply from a subscription database. In some cases, YouTube TV’s restrictions cause a
 notification to the end   notification indicating an end user not authorized even when the end user is signed in to a YouTube TV
 user indicating that      account, based on a reply from a subscription database.
 the end user is not

PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                       5
                Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 6 of 19 Page ID #:263
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,595,778                                                             Google CDN
 authorized to receive
 delivery of the video
 stream based on the
 processing of the
 reply from the
 subscription database;
 and




                           https://tv.youtube.com/watch/PvX09GvM5wA?utm_source
                           =fire&onboard=1&vp=0gEEEgIwAQ%3D%3D




                           https://tv.youtube.com/watch/PvX09GvM5wA?utm_source
                           =fire&onboard=1&vp=0gEEEgIwAQ%3D%3D



PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                       6
                Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 7 of 19 Page ID #:264
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,595,778                                                             Google CDN




                           https://tv.youtube.com/?utm_source=fire&onboard=1

                            As one example, when an end user selects a channel below, the end user receives the notification further
                           below stating “You’ll be asked to sign up before you can watch.”




                           https://tv.youtube.com/welcome/#base-plan




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                       7
                Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 8 of 19 Page ID #:265
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,595,778                                                             Google CDN




                           https://tv.youtube.com/browse/UC2_XXeXYbABftxRRBCRjN7A




                           https://support.google.com/youtubetv/answer/7300225?hl=en#zippy=%2Clocation-restrictions

 initiating delivery of    Google initiates delivery of a video stream based on the reply from the database. For example, YouTube
 the video stream to       TV begins delivery of content after successful sign in, or during a period where the subscription database
 the end user based on
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                       8
                Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 9 of 19 Page ID #:266
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        8,595,778                                                        Google CDN
 the processing of the  indicates an end user is authorized to receive delivery of a video stream, such as during a preview or free
 reply from the         trial.
 subscription database,
 wherein the reply
 from the subscription
 database indicates the
 end user is authorized
 to receive delivery of
 the video stream.




                           https://support.google.com/youtube/answer/13821595?hl=en




                           https://tv.youtube.com/browse/UCdudcFrjsgI28srMBGXMkhw

PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                       9
               Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 10 of 19 Page ID #:267
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,595,778                                                             Google CDN



 4. The computer-          Google further includes processing proximity parameters associated with the end user. For example,
 implemented method        YouTube TV provides processing proximity parameters associated with an end user that specify a
 as in claim 1 further     geographic location of the end user, determining the end user is not authorized to receive the video stream
 comprising:               based on processing the proximity parameters, and restricting delivery of the video stream to the end user.
 processing proximity
 parameters associated     For example, YouTuble TV processes proximity parameters when an end user has traveled outside of their
 with the end user,        home area and YouTube TV restricts delivery of a video stream to end users based on processing these
 wherein the proximity     proximity parameters. Google’s information about YouTube TV states “[w]hen you travel outside of your
 parameters specify a      home area, you can’t watch local networks airing in your home area.”
 geographic location
 of the end user to
 where video content
 is transmitted;
 based on the              https://support.google.com/youtubetv/answer/7129768?hl=en&co=GENIE.Platform%3DDesktop
 processing of the
 proximity parameters,
 determining that the
 end user is not
 authorized to receive
 the video stream; and
 restricting delivery of
 the video stream to
 the end user.




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                      10
               Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 11 of 19 Page ID #:268
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,595,778                                                             Google CDN




                           https://support.google.com/youtubetv/answer/7300225?hl=en#zippy=%2Clocation-restrictions




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                      11
               Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 12 of 19 Page ID #:269
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,595,778                                                        Google CDN
                           https://www.security.org/vpn/change-youtube-tv-location/

 7. The computer-          Google’s further provides restricting delivery of the video stream in accordance with subscription
 implemented method        parameters including at least a geographic restriction. For example, YouTube TV restricts delivery of video
 of claim 4, wherein       streams in accordance with an end user being outside of the end user’s “home area.”
 restricting delivery of
 the video stream to
 the end user is in
 accordance with
 subscription              https://support.google.com/youtubetv/answer/7129768?hl=en&co=GENIE.Platform%3DDesktop
 parameters of the
 content publisher for
 a group of end users,
 the subscription
 parameters including
 at least one of a time
 restriction and a
 geographic
 restriction, and
 wherein the end user
 is a member of the
 group of end users to
 which the
 subscription
 parameters apply.
                           https://support.google.com/youtubetv/answer/7300225?hl=en#zippy=%2Clocation-restrictions

 9. The computer-          Google further provides processing the reply from the subscription database, including detecting that an end
 implemented method        user is not a subscriber, storing an entry indicating the end user is not an authorized subscriber, and
 as in claim 1, wherein    transmitting a notification. For example, YouTube TV implements restrictions including based on current
 processing the reply      location, and Google detects and tracks verification data indicating that an end user is not an authorized
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                      12
               Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 13 of 19 Page ID #:270
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        8,595,778                                                        Google CDN
 from the subscription subscriber (as one example, YouTube TV analyzes and/or logs user location data for restricting content, or
 database comprises      location or other information is analyzed or stored for targeting ads).
 detecting that the end
 user is not a
 subscriber of the
 content publisher, the
 method further
 comprising:
 in a subscriber
 verification table,
 storing an entry
 indicating that the end
 user is not an
 authorized subscriber
 of the content
 publisher, and
 wherein transmitting
 a notification to the
 end user indicating     https://support.google.com/youtubetv/answer/7300225?hl=en#zippy=%2Clocation-restrictions
 that the end user is
 not authorized to
 receive delivery of
 the video stream
 comprises:
 specifying in the
 notification that the
 end user is not an
 authorized subscriber
 of the content
 publisher from which
 the end user had
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                      13
               Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 14 of 19 Page ID #:271
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,595,778                                                             Google CDN
 requested delivery of
 the video stream.




                           https://blog.google/products/ads/video-is-everywhere-helping-brands-find/

 10. The computer-         Google detects and tracks verification data indicating that an end user is not an authorized subscriber. For
 implemented method        example, Google CDN stores YouTube history including YouTube TV authorized logins and/or viewing
 as in claim 1, wherein    history, for instance for analytics regarding end-user viewing or clicking behavior. As another example,
 processing the reply      YouTube stores history indicating an end user is authorized.
 from the subscription
 database comprises
 detecting that the end
 user is a subscriber of
 the content publisher,
 the method further
 comprising:
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                      14
               Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 15 of 19 Page ID #:272
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        8,595,778                                                            Google CDN
 in a subscriber
 verification table,
 storing an entry
 indicating that the end
 user is an authorized
 subscriber of the
 content publisher.




                           https://blog.google/products/ads/video-is-everywhere-helping-brands-find/




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                      15
               Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 16 of 19 Page ID #:273
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,595,778                                                             Google CDN




                           https://myactivity.google.com/product/youtube/controls

 11. The computer-         The Google CDN receives a second request from a second end user for delivery of a video stream,
 implemented method        processes the second request to determine the second end user is authorized, and initiates delivery of the
 of claim 10 further       video stream to the second end user.
 comprising:
 receiving a second        For example, multiple end users request video streams, and the Google CDN determines a second end user
 request from a second     is authorized. As one example, on information and belief, YouTube TV has over 8 million active
 end user for delivery     subscribers including millions of end users who request delivery of a video stream from Google’s CDN by
 of the video stream to    using YouTube TV.
 the second end user;
 processing the second
 request to determine
 that the second end
 user is authorized to
 receive delivery of
 the video stream; and


PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                      16
               Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 17 of 19 Page ID #:274
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        8,595,778                                                            Google CDN
 initiating delivery of
 the video stream to
 the second user.
 12. The computer-         The Google CDN processes the second request to determine a second end user is authorized, including
 implemented method        determining the second end user is the same as the end user. For example, the Google CDN including
 of claim 11, wherein      YouTube TV uses information about a second end user to determine the second end user is the same as the
 processing the second     end user and determines the second end user is an authorized subscriber, as discussed below.
 request to determine
 that the second end
 user is authorized to
 receive delivery of
 the video stream
 comprises:
 determining that the
 second end user is the
 same as the end user;
 and
 in response to
 querying the
 subscriber
 verification table,
 determining that the
 second end user is an
 authorized subscriber
 of the content
 publisher.
 13. The computer-         As one example, the Google CDN uses a cookie or token to determine a second end user is the same as the
 implemented method        end user.
 of claim 11, wherein
 processing the second
 request to determine
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                      17
               Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 18 of 19 Page ID #:275
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        8,595,778                                                            Google CDN
 that the second end
 user is authorized to
 receive delivery of
 the video stream
 includes analyzing at
 least one of a token
 and a cookie, wherein
 the at least one of a
 token and a cookie is
 associated with the
 second request
 received from the
 second end user.

                           https://consent.youtube.com/d?continue=https://www.youtube.com/
                           %3Fcbrd%3D1&gl=BE&m=0&pc=yt&hl=en-GB&src=2

 14. The computer-         The Google CDN stores session information associated with delivery of a video stream to an end user in
 implemented method        accordance with a relative time at which the request was received. As one example, YouTube watch history
 of claim 10 further       includes session information associated with delivery of a video stream, such as a list of videos watched by
 comprising:               an end user associated with a relative time (e.g., “Sunday,” “Saturday”).
 in the subscriber
 verification table,
 storing session
 information
 associated with the
 delivery of the video
 stream to the end
 user, wherein the
 session information is
 stored in accordance
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                      18
               Case 2:24-cv-03951-PSG-RAO Document 1-8 Filed 05/10/24 Page 19 of 19 Page ID #:276
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,595,778                                                             Google CDN
 with a relative time at
 which the request
 from the end user was
 received.




                           https://www.idownloadblog.com/2024/01/30/how-to-see-and-delete-youtube-watch-history/




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                      19
